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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF MISSOURI
                                  EASTERN DIVISION

COTTER CORPORATION, N.S.L.,                    )
                                               )
       Third-Party Plaintiff,                  )
                                               )
v.                                             )               No. 4:20-cv-01227-JAR
                                               )
MALLINCKRODT LLC et al.,                       )
                                               )
       Third-Party Defendants.                 )

                                        STATUS REPORT

       1.      On January 25, 2022, this Court extended the stay in this matter pending the

issuance of mandate by the Eighth Circuit in the consolidated appeal in this matter, Banks et al.

v. Cotter Corp., Nos. 21-1160, 21-1165 (8th Cir.) (“Banks Appeal”).

       2.      Mandate issued on February 18, 2022 (ECF No. 99). Accordingly, jurisdiction

over all claims in this matter—including Plaintiffs’ claims and Cotter Corporation (N.S.L.)’s

third-party claims—has been re-established in this Court. Cotter Corporation (N.S.L.) and

Mallinckrodt LLC therefore request that the Court order the Clerk of Court to re-caption this

case as Tamia Banks, et al. v. Cotter Corporation (N.S.L.), et al. and reinstate all parties and

counsel who were terminated on the docket.

       3.      Plaintiffs have until May 12, 2022, to file a petition for writ of certiorari in the

United States Supreme Court from the decision of the Eighth Circuit in the Banks appeal, In re

Cotter Corp. (N.S.L.), 22 F.4th 788 (8th Cir. 2022). Plaintiffs have not committed as to when

they will file such a petition but have indicated their intention of doing so.




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       4.      Cotter Corporation (N.S.L.) has also filed a motion for consolidation of this case

with the earlier filed, related matter of Butler v. Mallinckrodt LLC, et al., Case No. 4:18-cv-

01701-AGF (“Butler”) (ECF No. 100). That motion is pending in Butler before Judge Fleissig.

       5.      In light of Plaintiffs’ anticipated petition for writ of certiorari in the Supreme

Court, Cotter Corporation (N.S.L.) and Mallinckrodt LLC request that this Court extend the stay

in this case until May 26, 2022, which is 14 days after Plaintiffs’ Supreme Court filing deadline

of May 12, 2022, with an order to all parties to file a joint status report by May 26, 2022.




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     Dated: March 18, 2022           Respectfully submitted,

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                                CERTIFICATE OF SERVICE

       I certify that on March 18, 2022, these papers were filed through the Eastern District of

Missouri Court’s CM/ECF system, which will automatically serve an electronic copy upon all

counsel of record.


                                               /s/ Brian O. Watson                    .
                                               Brian O. Watson




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